                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

MAINE COMMUNITY HEALTH                          )
OPTIONS,                                        )
                                                )
                                                )
                                     Plaintiff, )
                                                )
       v.                                       )               Case No. 18-mc-00009
                                                )
WALGREEN CO.                                    )
                                                )
                                   Defendant. )


 BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO ENFORCE THIRD-PARTY
                      ARBITRATION SUBPOENA

                                       INTRODUCTION

       Plaintiff Maine Community Health Options (“Health Options”) served Defendant

Walgreen Co. (“Walgreens”) on August 16, 2018, with a third-party subpoena issued by The

Hon. Myra Selby and The Hon. Jeffrey Keyes, panel arbitrators in a pending proceeding,

requiring Walgreens’ attendance and production of documents at an arbitration hearing in

Madison, Wisconsin. See Exhibit 1. The arbitration panel issued the narrowly tailored subpoena

duces tecum pursuant to its authority under the Federal Arbitration Act (“FAA”) and consistent

with Federal Rule of Civil Procedure 45. Walgreens has refused to comply without an order

from this Court enforcing the subpoena.

                               PROCEDURAL BACKGROUND

       Health Options is a non-profit community health plan, established under the Affordable

Care Act (“ACA”) as a Consumer Operated and Oriented Plan (“CO-OP”) insurer to create

affordable, high quality benefits that promote health and wellbeing for its more than 40,000

members in Maine. As the private health insurer of last resort for some of Maine’s most

vulnerable and historically uninsured residents, Health Options plays a critical role in providing


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health care to individuals who cannot obtain health insurance through their jobs or other sources.

        Health Options commenced the underlying arbitration against Navitus Health Solutions,

LLC (“Navitus”) in March 2018, to recover millions of dollars in reimbursement charges

improperly billed by Navitus—and paid by Health Options— for pharmaceutical drugs sold

through Navitus’ retail pharmacy network to Health Options’ members. The payments at issue

relate to Navitus’ misrepresentation of “usual and customary” (“U&C”) prices charged by its

retail network pharmacies for thousands of prescription drugs purchased by Health Options’

members. In its Arbitration Demand, Health Options alleged that Navitus based its

reimbursement charges on inflated U&C prices charged by its retail pharmacies for the drugs

purchased by Health Options’ members. Navitus’ misrepresentations resulted in Health Options

paying significantly higher reimbursements than what Health Options would have paid had

Navitus charged Health Options based on the true U&C prices, as the parties had agreed in their

Pharmacy Benefit Management Services Agreement (the “Agreement”).

       The reimbursement provisions of the Agreement provided that Navitus would bill Health

Options “the lower of” their negotiated rate or the retail pharmacy’s U&C price, defined in the

Agreement as “any minimum price[] charged by [a pharmacy] in a cash or uninsured

transaction.” In discovery, Health Options requested from Navitus specific data from certain

pharmacies in Maine and New Hampshire within Navitus’ network, including Walgreens,

regarding those pharmacies (1) internal pharmacy price lists, including any discount prices, that

the pharmacy charges customers who pay without insurance, and (2) pharmacy cash and

uninsured transaction data reflecting the drug prices the pharmacy actually charged their

customers who paid without insurance (collectively the “Subpoenaed Data”). The Subpoenaed

Data is material to determining the amount by which Health Options overpaid Navitus through



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Navitus’ use of inflated U&C prices when it adjudicated Health Options’ members’ pharmacy

claims. From the beginning of the arbitration and to date, Navitus has refused to provide the

Subpoenaed Data and asserts that it does not have the Subpoenaed Data in its possession.

          Health Options proceeded to request issuance of such subpoenas on August 7, 2018. The

arbitration panel agreed that documents and testimony from Walgreens was relevant and

material, and, pursuant to its authority under the FAA, issued the subpoena duces tecum on

August 13, 2018. The subpoena directed Walgreens to produce a witness and provide the

Subpoenaed Data, at an arbitration hearing in Madison, Wisconsin. The subpoena was properly

served on Walgreens’ registered agent in Illinois on August 16, 2018.

          In a letter dated August 27, 2018, counsel for Walgreens informed Health Options that it

would not produce the Subpoenaed Data or have a witness appear at a hearing, absent an Order

from this Court compelling compliance. See Exhibit 2 (Walgreens’ Response Letter, August 27,

2018).1

                                                   ARGUMENT

          This Court is authorized to enforce the arbitral subpoena because the arbitration panel is

seated in Madison, Wisconsin. The FAA provides:

          [I]f any person or persons so summoned to testify shall refuse or neglect to obey said
          summons, upon petition the United States district court for the district in which such
          arbitrators, or a majority of them, are sitting may compel the attendance of such person or
          persons before said arbitrator or arbitrators, or punish said person or persons for contempt
          in the same manner provided by law for securing the attendance of witnesses or their
          punishment for neglect or refusal to attend in the courts of the United States.

9 U.S.C. § 7.

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           In its response letter, Walgreens also objects to the subpoena requests as irrelevant and unduly
burdensome. Such objections should not be considered in determining validity of the subpoena; rather, such
objections must be made directly to the arbitration panel. See, e.g., In re Sec. Life Ins. Co. of Am., 228 F.3d 865, 870,
71 (8th Cir. 2000) (refusing to determine whether requested information was relevant because that is “antithetical to
the well-recognized policy favoring arbitration, and compromises the panel’s presumed expertise in the matter at
hand”); Am. Fed. of Television & Radio Artists v. WJBK-TV, 164 F.3d 1004, 1010 (6th Cir. 1998) (relevance of
information sought by arbitral subpoena should be determined by arbitrator in the first instance).


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        Further, there is no question that the Court has jurisdiction over this matter, based on the

diversity of the parties to the underlying dispute. Though Section 7 of the FAA authorizes this

Court to enforce the subpoena, it does not independently confer subject matter jurisdiction over

such motion to enforce. See Amgen, Inc. v. Kidney Ctr., 95 F.3d 562, 567 (7th Cir. Sept. 6,

1996). Rather, the party seeking enforcement “must establish that the dispute that underlies the

arbitration would come within the jurisdiction of the district court.” Id.; see also Schaeb v.

Botsford Hosp., 2012 U.S. Dist. LEXIS 185519, *15, (E.D. Mich. Nov. 13, 2012) adopted by

2013 U.S. Dist. LEXIS 14059 (E.D. Mich. Jan. 31, 2013) (same).

        Health Options is headquartered and incorporated in Maine, while Navitus is

headquartered and incorporated in Wisconsin; and the matter in controversy exceeds $75,000.

The arbitration demand seeks in excess of 17 million dollars in damages.

I.     THE SUBPOENA IS VALID AND ENFORCEABLE PURSUANT TO THE
       FEDERAL ARBITRATION ACT AND RULE 45.

       Section 7 of the FAA authorizes arbitrators to “summon in writing any person to attend

before them or any of them as a witness and in a proper case to bring with him or them any book,

record, document, or paper which may be deemed material as evidence in the case.” 9 U.S.C. §

7. The subpoena must be served in the same manner as subpoenas to appear and testify before

the court. Id. Rule 45 of the Federal Rules of Civil Procedure governs court-ordered subpoenas

and provides that a subpoena may command a person to attend a hearing or produce documents

at a location “within 100 miles of where the person resides, is employed, or regularly transacts

business in person.” F.R.C.P. 45(c)(1)(A). The subpoena satisfies Rule 45 on two independent

grounds: Walgreens regularly transacts business in, and resides within 100 miles of, Madison,

Wisconsin.




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         A.       WALGREENS “REGULARLY TRANSACTS BUSINESS” WITHIN 100
                  MILES OF MADISON, WISCONSIN.

         In its response letter, Walgreens ignores the full text of Rule 45(c)(1)(A) and argues that

Walgreens’ “place of residence is determinative of the validity and enforceability of the

subpoena.” Exhibit 2, at 2.2 However, Walgreens operates several stores located in Madison,

Wisconsin, and therefore, “regularly transacts business” within 100 miles of the hearing location,

as set forth in by Rule 45. For chain stores like Walgreens, having a store or branch within 100

miles of the hearing location fulfills the requirements of Rule 45. In Westmore Equities, LLC v.

Vill. Of Coulterville, the Southern District of Illinois enforced a third-party subpoena for

documents issued to Commerce Bank because a search of the bank’s online branch locator

revealed several branches that were located within 100 miles of Springfield, Illinois—the

location of compliance designated in the subpoena. 2016 U.S. Dist. LEXIS 21032, at *5-7 (S.D.

Ill. Feb 22, 2016); cf. Raap v. Brier & Thorn, Inc., 2017 U.S. Dist. LEXIS 87004, at *8-9 (S.D.

Ill. June 7, 2017) (refusing to enforce third-party subpoena against Bank of Springfield because it

had no branches within 100 miles of Madison, Wisconsin).

         Walgreens’ online store locator shows that there are at least seven pharmacy locations in

the city of Madison, Wisconsin, and an additional forty-five locations within 50 miles of

Madison. See https://www.walgreens.com/storelocator/find.jsp. Walgreens therefore “regularly

transacts business” within the location of compliance designated in the subpoena, and the

subpoena is valid and enforceable under Rule 45.


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            In its response letter, Walgreens does not offer any support for this assertion. Instead, Walgreens cites to
irrelevant Supreme Court cases regarding personal jurisdiction over foreign corporations. See Exhibit 2, at 2. This
is plainly incorrect because it ignores the express language of Rule 45, which provides that a subpoena may
command a person to attend a hearing or produce documents at a location “within 100 miles of where the person
resides, is employed, or regularly transacts business in person.” (emphasis added). This Court does not need to find
that it has personal jurisdiction over Walgreens to enforce the subpoena. It need only find that Walgreens “regularly
transacts business” within 100 miles of Madison, Wisconsin.


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       B.      WALGREENS ALSO RESIDES WITHIN 100 MILES OF MADISON,
               WISCONSIN.

       Rule 45(c)(1)(a) provides that a subpoena for appearance at a hearing is valid and

enforceable if the hearing location is within 100 miles of where the person resides. According to

Walgreens, it “resides” at its headquarters in Deerfield, Illinois. Walgreens incorrectly asserts,

however, its headquarters is over 100 miles from Madison, Wisconsin. Exhibit 2, at 2. In order

to determine the distance between Walgreens’ residence and the hearing location under Rule 45,

“the proper measurement is a straight line measurement, ‘or as the crow flies.’” Lyman v. St.

Judge Med. S.C. Inc., 580 F. Supp. 2d 719, 728 n.5 (E.D. Wisc. May 27, 2008) (using the

GeoBytes “city distance tool” to find that individual’s residence in the city of Naperville is 90

miles from Milwaukee). Using the GeoBytes’ City Distance Tool, the “by air” or “as the crow

flies” distance between Madison, Wisconsin and Deerfield, Illinois is 99.3 miles. Walgreens

therefore, not only “regularly transacts business” within 100 miles of Madison, Wisconsin, but

also resides within 100 miles of Madison, Wisconsin. Walgreens’ residence within 100 miles of

Madison provides an independent basis for enforcement of the subpoena.

                                         CONCLUSION

       For the foregoing reasons, Health Options respectfully requests that the Motion to

Enforce the subpoena be granted, and that Walgreens be compelled to provide testimony and

documents at a hearing in Madison, Wisconsin in the underlying arbitration.



Dated: October 30, 2018                       Respectfully submitted,

                                              /s/ Noor Taj
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